Case 1:19-cv-00007-CBA-VMS Document 81 Filed 04/15/19 Page 1 of 4 PageID #: 7180



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 Achraf Safieddine

                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

  Bartlett, et al.,

                                  Plaintiffs,
                                                               Case No. 1:19-cv-00007
          v.

  Société Générale de Banque au Liban S.A.L.,
  et al.,

                                  Defendants.


  Proposed Intervenor Achraf Safieddine’s Reply Memorandum of Law in Further Support
                     of his Motion for Limited Invention and to Strike

         Proposed Intervenor Mr. Achraf Safieddine (“Attorney Safieddine” or “Mr. Safieddine”),

 hereby submits this reply memorandum in further support of his motion for limited intervention

 to strike impertinent allegations in Plaintiff’s Complaint.

                                                ARGUMENT

    Plaintiffs’ Opposition fails to dispute the impertinence of the Complaint’s allegations
    against Mr. Safieddine, which impertinence alone warrants the Court to strike them

         Plaintiffs’ Memorandum of Law in Opposition (“Opposition”) first attempts to divert the

 Court’s focus by opposing Mr. Safieddine’s motion on the ground that Rule 24’s standard to

 intervene is “high threshold,” when the Court need not determine Mr. Safieddine’s status as an

 intervenor to decide the motion to strike under Rule 12(f). See Opposition at 6-7. The Court may


                                                   1
Case 1:19-cv-00007-CBA-VMS Document 81 Filed 04/15/19 Page 2 of 4 PageID #: 7181



 strike immaterial and unrelated allegations in a complaint on its own accord under Rule 12(f)—

 with or without consideration of whether Mr. Safieddine may also seek such relief by moving to

 intervene under Rule 24. See Huang v. GW of Flushing I, Inc., No. 17-CV-3181 (PKC) (JO),

 2019 WL 145528, at *8 (E.D.N.Y. Jan. 9, 2019) (striking allegations against non-parties which

 served “no legitimate purpose”); See also Jane Doe 1 v. U.S., No. 08-CV-80736-KAM, 2015

 WL 11254692, at *3 (S.D. Fla. Apr. 7, 2015) (striking allegations pursuant to Rule 12(f) after

 issue first raised in non-party’s Rule 24 motion). While Plaintiffs’ Opposition attempts to point

 out what courts faced with motions similar to Mr. Safieddine’s have not done (see Opposition at

 7), they ignore that gravamen of those same cases (as well as other cases cited by Mr. Safieddine,

 like Estate of Ungar v. Palestinian Auth., 2003 WL 22012475) was to thwart the promulgation of

 unrelated and impertinent allegations against non-parties—which may have never been raised to

 those courts’ attention absent a motion to intervene. See, e.g., Sackman v. Liggett Grp., Inc., 167

 F.R.D. 6, 20-21 (E.D.N.Y. 1996); see Jane Doe 1 v. U.S., 2015 WL 11254692, at *3; Estate of

 Ungar v. Palestinian Auth., No. 00 CV-105L, 2003 WL 22012475, at *1 (D.R.I. Aug. 4, 2003)

 (granting motion to strike pursuant to Rule 12(f) in ATA case); see also Estate of Ungar v.

 Palestinian Auth., No. 00-105 L, 2003 WL 21076981, at *1 (D.R.I. Apr. 18, 2003), aff'd, No. 00

 CV-105L, 2003 WL 22012475 (D.R.I. Aug. 4, 2003) (same).

        Indeed, the purpose of striking impertinent allegations is to avoid the very satellite

 litigation that Plaintiffs propose in their Opposition, especially over issues that have no bearing

 on the facts or dispute at hand. Plaintiffs’ Opposition instead focuses on the purported

 “relevancy” of their allegations against Mr. Safieddine based on purported “evidence” that falls

 way short of “public record”, while admitting that they have not alleged any connection between

 Mr. Safieddine and Defendants pertinent to the claims alleged in the Complaint herein—nor do




                                                   2
Case 1:19-cv-00007-CBA-VMS Document 81 Filed 04/15/19 Page 3 of 4 PageID #: 7182



 they need to. See Opposition at 2-5. Even when given the opportunity to elaborate on the

 relationship between Plaintiffs’ allegations regarding Mr. Safieddine and the merits of their

 action, Plaintiffs could not and did not do so. See Opposition at 2-3. Indeed, while Plaintiffs go

 to great lengths to describe the conduct of others in support of their claims against Defendants,

 they only mention Mr. Safieddine twice (once in passing) and never bring him up again. See id.

 Plaintiffs’ Opposition acknowledges that the disposition of their claims against the Defendant

 banks would not require a determination of truth or falsity of their allegations against Mr.

 Safieddine—especially considering the absence of any allegation that such banks even knew of

 Mr. Safieddine. Id.

        Further, while Plaintiffs criticize Mr. Safieddine for providing evidence to debunk the

 C4ADS Report (Opposition at 5)—that their counsel relies heavily (and exclusively) upon to

 support their scurrilous allegations in the Complaint—Plaintiffs do not deny that the purported

 entities that they associate Mr. Safieddine with in Paragraph 348 are not part of the Hezbollah

 “network” that their entire claim against the Defendant banks is based upon.

        Plaintiffs cannot credibly argue that the allegations regarding Mr. Safieddine have any

 bearing on the issues in this case. Plaintiffs’ conusel’s attacks against an attorney, who has no

 other opportunity to defend himself but through this motion, should be stricken. See GWG MCA

 Capital, Inc. v. Nulook Capital, LLC, No. 17-CV-1724 (GRB), 2019 WL 1084777, at *12

 (E.D.N.Y. Mar. 7, 2019) (Striking paragraphs against non-party attorney pursuant to Rule 12(f)

 while noting: “[b]eing accused of illegal collusion in federal court pleadings is a serious matter,

 particularly for an officer of the court. There is an issue of fundamental fairness that arises when

 an attorney, who is not a party to the proceeding, and is therefore not afforded the opportunity to

 defend himself, has been accused of such activity, particularly when the allegations fail to




                                                  3
Case 1:19-cv-00007-CBA-VMS Document 81 Filed 04/15/19 Page 4 of 4 PageID #: 7183



 suggest whether such supposed participation was knowing or willful.”). As such, attorney

 Achraf Safieddine respectfully requests that the Court strike the scandalous and impertinent

 allegations made against him in Paragraphs 348 and 352.

                                          CONCLUSION

        For the reasons set forth above and in Mr. Safieddine’s opening memorandum, Mr.

 Safieddine respectfully requests that the Court grant the instant motion or in the alternative,

 strike the objectionable provisions sua sponte.

 Dated: April 15, 2019
        Brooklyn, New York
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